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                                                                                                                         12                              UNITED STATES DISTRICT COURT
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                         13                                       DISTRICT OF NEVADA
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14   SECURITIES AND EXCHANGE                          Case No. 2:21-cv-01298-JAD-BNW
                                                                                                                              COMMISSION,
                                                                                                                         15
                                                                                                                                                    Plaintiff,                 ORDER APPROVING FIRST STATUS
                                                                                                                         16                                                    REPORT OF GEOFF WINKLER,
                                                                                                                              v.                                               RECEIVER FOR PROFIT CONNECT
                                                                                                                         17                                                    WEALTH SERVICES, INC. AND
                                                                                                                              PROFIT CONNECT WEALTH SERVICES,                  PETITION FOR INSTRUCTIONS [DOC.
                                                                                                                         18   INC., JOY I. KOVAR, and BRENT CARSON             NO. 52]
                                                                                                                              KOVAR,
                                                                                                                         19                                                    Hearing:
                                                                                                                                                    Defendants.                DATE: November 30, 2021
                                                                                                                         20                                                    TIME: 2:00 p.m.

                                                                                                                         21

                                                                                                                         22           At the above date and time and in connection with a hearing on two other motions, the

                                                                                                                         23 Court held a hearing on the First Status Report of Geoff Winkler, Receiver for Profit Connect

                                                                                                                         24 Wealth Services, Inc. and Petition for Instructions [Doc. No. 52] ("Status Report"). Appearances

                                                                                                                         25 were as noted on the record. The Court having reviewed the Status Report and for the reasons set

                                                                                                                         26 forth on the record,

                                                                                                                         27           IT IS HEREBY ORDERED AS FOLLOWS:

                                                                                                                         28


                                                                                                                              2893418.1
                                                                                                                              Case 2:21-cv-01298-JAD-BNW Document 71 Filed 01/25/22 Page 2 of 2




                                                                                                                          1           (1)    The Status Report and the actions of the Receiver described therein are approved,
                                                                                                                          2 and the Court finds that the receivership should continue pursuant to the Order: (A) Granting

                                                                                                                          3 Parties' Stipulation to Enter a Preliminary Injunction and Order for Related Relief (1) Freezing

                                                                                                                          4 Assets, (2) Prohibiting the Destruction of Documents, (3) Appointing a Permanent Receiver, and

                                                                                                                          5 (4) Permitting Joy Kovar to Open a Bank Account for Certain Income; (B) Setting Video Status

                                                                                                                          6 Conference About the Receivership; and (C) Vacating Hearing on the SEC's Motions for a

                                                                                                                          7 Preliminary [Injunction] and to Appoint a Permanent Receiver.

                                                                                                                          8           (2)    In giving notice to investors and creditors of the time and place of the hearings on
                                                                                                                          9 the items set forth in Local Rule 66-5, the Receiver is authorized to effectuate that service by e-

                                                                                                                         10 mail and posting the notice on the website set up by the Receiver for this receivership. When

                                                                                                                         11 notice is accomplished in this manner, a declaration shall be submitted to the Court that notice was

                                                                                                                         12 given to investors and creditors by email, and counsel or the Receiver shall maintain a list of the
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                         13 addresses served with each notice.
                                                           LAS VEGAS, NEVADA 89135
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                                                                                                                         14           (3)    The Court finds that it would be premature to provide instructions to the Receiver
                                                                                                                         15 regarding wire transfers and certain checks received during the temporary receivership and

                                                                                                                         16 declines to issue a ruling at this time.

                                                                                                                         17           (4)    The Receiver is authorized to resolve claims against sales agents who received
                                                                                                                         18 commissions and where the amount at issue is $10,000 or less without the necessity of seeking

                                                                                                                         19 Court approval, and may resolve any claims against a sales agent without Court approval if the

                                                                                                                         20 amount at issue is equal to the amount to be recovered.

                                                                                                                         21           IT IS SO ORDERED.
                                                                                                                         22
                                                                                                                                                                       _________________________________
                                                                                                                         23                                            U.S. District Judge Jennifer A. Dorsey
                                                                                                                         24                                            Dated: January 25, 2022

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